AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District
                                             __________ DistrictofofVirginia
                                                                     __________


                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No.     3:18-cr-00025
                    Benjamin Daley, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          The United States of America                                                                                 .


Date:          10/31/2018                                                                s/Justin M. Lugar
                                                                                         Attorney’s signature


                                                                                  Justin M. Lugar, VSB No. 77007
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